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Case 4:02-c1-00203-A@Hooument 19 Filed 11/21/02 ee lof2 PagelD 251

IN THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF TEXAS

FORT WORTH DIVISION
UNITED STATES OF AMERICA . §
§ .
Vs. § Criminal No. 4:02-CR-203-A
§
WILLIAM RAY HAVNER, III (3) §

WRIT OF HABEAS CORPUS AD PROSEQUENDUM

TO: THE SHERIFF, TARRANT COUNTY JAIL, TARRANT COUNTY, FORT WORTH,

TEXAS

Pursuant to the Order of a United States District Judge for the Northern District of
Texas,

YOU ARE HEREBY COMMANDED to bring WILLIAM RAY HAVNER, III, date
of birth October 19, 1977, SID number TX06944821, before United States District Court on
Tuesday, December 3, 2002 at 2:00 p.m., at which time and place said defendant is to answer
to the charges pending in the above numbered cause, and after the conclusion of all
proceedings in this cause, you are to return said defendant under safe and secure conduct to

said defendant's original place of custody or other appropriate authority.

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SIGNED ON NOV 21 2099
KAREN S. MITCHELL
UNITED STATES DISTRICT CLERK

aw. Hetty Avl

DEPUTY

RETURN

RECEIVED this writ on , and executed same by delivering

WILLIAM RAY HAVNER, III, to the custody of the United States Marshal for the Northern
District of Texas for appearance before the United States Magistrate Court at Fort Worth,

Texas on

FINAL RETURN
Final return and execution of this writ is hereby made by delivering WILLIAM RAY
HAVNER, III, from the custody of the United States Marshal for the Northern District of

Texas to on

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